     Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 1 of 24




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 CHRISTINE A. NYGREN                           Civil Action No. 2:20-cv-02714

                         plaintiff,            Section I, Division 3

 versus                                        District Judge Lance M. Africk

 DOLLAR TREE, INC., ET AL,                     Magistrate Judge Dana M. Douglas

                         defendants.



                                       LR 56.2 Statement
       Plaintiff and non-movant Christine A. Nygren (“Chris”) responds to Defendant’s

Statement of Uncontested Material Facts [R. Doc. 28-2], providing reasons Dollar Tree

Stores, Inc.’s (“DTS”) “uncontested material facts”: (1) aren’t statements of fact; (2) aren’t

statements of material fact; (3) are statements of material fact that are genuinely disputed

under Rule 56(a); (4) aren’t supported by credible Rule 56(c)(1)(a) material; or (5) don’t

permit the Court to enter judgment as a matter of law:

1.     Ms. Nygren was 69 years old at the time of her separation from DTS on April 5,
       2019. She was hired by DTS as a District Manager at age 48 and held that position
       until February 1998.
       a.     Fact statements.
       b.     Material only as to age at separation, date of separation, and employer.

       c.     Not genuinely disputed.

2.     In 2001 Plaintiff was promoted to the position of Zone HR Director, the position
       she held until she left the Company on April 5, 2019. Throughout this period she
       lived in Metairie, Louisiana.
       a.    Fact statements.

       b.    Material.

       c.    Not genuinely disputed.




                                          Page 1 of 24
     Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 2 of 24




3.     In May 2015 Plaintiff became the Zone HR Director for Zone 5. Ms. Nygren origi-
       nally reported to Mr. David McDearmon.

       a.     Fact statements.

       b.     Material.

       c.     Not genuinely disputed.

4.     In 2016 Ms. Nygren formed a belief that she was denied a Zone assignment based
       on her age, but did not lodge an internal complaint or file an EEOC charge regarding
       this issue. Ms. Nygren is not asserting any claims in her Complaint based on matters
       that occurred during that timeframe.

       a.     Fact statements.

       b.     Immaterial, except as to confirm claims Chris is not asserting here.

       c.     Not genuinely disputed.

5.     In her position of Zone HR Director, Plaintiff was responsible for handling human
       resources issues, employee hiring and counseling and also supervised Regional HR
       Managers who were responsible for HR issues for regions inside the Zone. Ms. Ny-
       gren was also responsible for ensuring that DTS was compliant with fair employ-
       ment laws prohibiting employment discrimination and was familiar with the Com-
       pany’s policies on these subjects.

       a.     Fact statements.

       b.     Material.

       c.     Not genuinely disputed.

6.     Plaintiff’s duties are accurately reflected in the written job description for the posi-
       tion that she produced in discovery.

       a.     Fact statements.
       b.     Material.

       c.     Not genuinely disputed.

7.     Ms. Nygren was aware that DTS had an equal employment opportunity policy that,
       among other things, prohibited age discrimination with respect to the terms and
       conditions of employment and harassment and also prohibited forced retirement.

       a.     Fact statements.

       b.     Material.
       c.     Not genuinely disputed.

                                         Page 2 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 3 of 24




8.      Ms. Nygren also understood that she was an at-will employee.

        a.    Fact statements.
        b.     Immaterial. An employee’s subjective beliefs about their employment rights
        are almost always immaterial in determining whether an employer has violated the
        law.

        c.    Not genuinely disputed.

9.      The DTS Field Operations Map for 2018 accurately depicts the Zones of Operation,
        including Zone 5 that Ms. Nygren was responsible for supporting, as well as the
        names of the other five Zone HR Directors. The Zone Vice President of Operations
        for Zone 5 in 2018 was Brian Prettyman.

        a.    Fact statements.
        b.    Material.

        c.    Not genuinely disputed.

10.     Mr. Prettyman reported to Senior Vice President of Operations Tom McAloon. Mr.
        Prettyman did not report to Steven Schumacher.

        a.    Fact statements.
        b.     Immaterial. Age discrimination vel non turns on whether DTS improperly
        enforced a policy (“ZHRDs must live in the same city as their Zone Vice President
        of Operations”) against its three oldest ZHRDs (Chris, Jerry Sankey, Terrie Peters
        Nathan) which it did not enforce against the youngest three ZHRDs (Karen Rhoten,
        Mary Ann Fulner, and Jeremie Mapes). It cannot point to factors it controls (where
        Zone VP of Ops. are permitted to live) to justify treating aged workers differently
        than significantly younger comparators.

        c.    Not genuinely disputed.

11.     In March or April of 2018, Steven Schumacher became the Vice President of Human
        Resources.

        a.    Fact statements.

        b.    Material.

        c.    Not genuinely disputed.




                                        Page 3 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 4 of 24




12.      On July 13, 2018 Ms. Nygren had a telephone conversation with Mr. Schumacher
         regarding the relocation requirement. During this discussion Mr. Schumacher told
         Ms. Nygren that she needed to relocate to live within her Zone by February 1, 2019,
         and if she did not agree to do so she would be provided with a severance package
         and could retire. Mr. Schumacher also said that financial relocation benefits would
         be made available to Ms. Nygren if she chose to relocate.

         a.     Fact statements.

         b.     Material.
         c.     Genuinely disputed as follows. Schumacher told the three affected ZHRDs
         (Chris, Jerry Sankey, and Terrie Peters Nathan) they’d need to relocate on July 13,
         2018. 1 Both Chris 2 and Jerry Sankey 3 testified that Schumacher did not initially tell
         them they’d need to relocated to a specific city within their Zones: only that they’d
         be required to move into their Zones. Nathan testified Schumacher told her he’d
         require her to move to a specific city, Chicago, within her Zone. 4 Schumacher never
         gave Chris a deadline to move, he always told Chris she could take as long as she
         wanted to decide, 5 and the only “deadlines” that ever appeared involved the volun-
         tary separation terms Schumacher offered the three ZHRDs if they didn’t want to
         move into their Zone. 6 Sankey and Peters, who both immediately refused to move
         (neither was willing to move into their Zone, anywhere)and never reconsidered, 7
         voluntarily agreed to severance and a last working day of April 5, 2019. 8
         d.      The testimony about what Steve Schumacher said or didn’t say constitutes
         inadmissible hearsay. Particularly where there are such contradictory accounts from
         all involved, it is not reliable and should be disregarded.

13.      Ms. Nygren could not recall if Mr. Schumacher told her that she would be required
         to relocate to Dallas, Texas during this initial discussion. She testified that either on
         that first call or on another call, when she mentioned that she was thinking of mov-
         ing to Houston, Texas, Mr. Schumacher responded that he was thinking of Dallas.


1
    DTS SUMF ¶ 12.                                   gotiated the “last day” to be April 5, 2019 ra-
                                                     ther than February 1, 2019. Chris testified:
2
  Nygren G.010:5-17; DTS SUMF ¶ 13; Ny-              Schumacher told her “[she] would be getting a
gren D.002, ¶¶ 6, 10.                                proposal sent to me that they were requiring
                                                     zone HRs to live in their zone by February the
3
    Nygren E.007:4-15.                               1st, or they would give me a severance package
                                                     and retire. Nygren G.009:18-23.
4
    Nygren H.005:14-006:8.
                                                     7
                                                       Nygren E.008:6-21; Nygren H.005:14-
5
    Nygren G.018:18-24.                              006:8.

6                                                    8
 DTS Exhibits 11, 12, 14.By the time the offers          DTS SUMF ¶ 63.
were presented in writing, the ZHRDs had ne-
                                            Page 4 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 5 of 24




        Plaintiff then testified that the Houston or Dallas discussion did not take place dur-
        ing that first call about the relocation requirement.

        a.     Fact statements.
        b.     Material.
        c.      Genuinely disputed as follows. Schumacher told the three affected ZHRDs
        (Chris, Jerry Sankey, and Terrie Peters Nathan) they’d need to relocate on July 13,
        2018. 9 Both Chris 10 and Jerry Sankey11 testified that Schumacher did not initially tell
        them they’d need to relocated to a specific city within their Zones: only that they’d
        be required to move into their Zones.
        d.      The testimony about what Steve Schumacher said or didn’t say constitutes
        inadmissible hearsay. Particularly where there are such contradictory accounts from
        all involved, it is not reliable and should be disregarded.

14.     When asked about Mr. Schumacher’s use of the term “retirement” during the July
        13, 2018 telephone conversation, Ms. Nygren testified that he said “what we’re go-
        ing to do is we’ll relocate you to your zone…or –or you can retire with – a severance
        package.”

        a.     Fact statements.
        b.     Material.

        c.     Not genuinely disputed.

15.     The first discussion ended with Mr. Schumacher telling Ms. Nygren that he would
        look into concerns that she had raised about how a February 1, 2019 separation
        date would impact her performance bonus and restricted stock awards for 2018 and
        would get back to her. Nothing further was said during this discussion.

        a.     Fact statements.
        b.     Material.

        c.     Genuinely disputed as follows.
        d.     Schumacher never gave Chris a deadline to move, he always told Chris she
        could take as long as she wanted to decide, 12 and the only “deadlines” that ever
        appeared involved the voluntary separation terms Schumacher offered the three
        ZHRDs if they didn’t want to move into their Zone. 13 Sankey and Peters, who both

9                                                   11
    DTS SUMF ¶ 12.                                       Nygren E.007:4-15.

10                                                  12
  Nygren G.010:5-17; DTS SUMF ¶ 13; Ny-                  Nygren G.018:18-24.
gren D.002, ¶¶ 6, 10.


                                          Page 5 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 6 of 24




        immediately refused to move (neither was willing to move into their Zone, any-
        where)and never reconsidered, 14 voluntarily agreed to severance and a last working
        day of April 5, 2019. 15

16.     Ms. Nygren denies that Mr. Schumacher told her that she could apply for other open
        positions with Defendant. But Plaintiff admits that she was familiar with the Com-
        pany’s Brass Ring job listing system, that she had full access to that system, and that
        nothing prevented her from applying for open positions if she wished to do so.

        a.     Fact statements.
        b.     Material.
        c.     Genuinely disputed as follows. Nygren’s significantly younger comparator,
        Terri Peters Nathan, was immediately told about the possibility of finding alternate
        employment within DTS and was able to inquire outside Brass Ring, through Suzan
        Kaufman, about open positions and she was kept abreast about developments within
        the company and was permitted to explore them as an internal matter. 16

17.     The next day, on July 14, 2019, Ms. Nygren sent an email to Gary Philbin, the CEO
        of DTS, complaining about the relocation requirement. Plaintiff began her email
        with the following statement: “I received a call yesterday, from Steve Schumacher.
        It seems I have until Feb 2019 to move to Texas – or I no longer have a job.” (em-
        phasis added). She added “I understand what the motive is” and the towards the
        conclusion of the email Plaintiff stated “Now- at age 69 – I am out-unless I pack up
        my belonging [sic] and move.” (emphasis added).

        a.     Fact statements.
        b.     Immaterial as to the statute of limitations argument DTS makes. The frantic
               email Chris sent to her CEO, months before ever seeing anything in writing,
               and well before she actually discovered (late January 2019)17 her younger
               ZHRDs weren’t in fact going to be required to move as she was, conveys only
               an immediate, short-term subjective belief. At no point do Chris’ subjective
               beliefs or concerns cure the lack of that unequivocal termination notice re-
               quired for the commencement of the statute of limitations, either. Clark v.
               Resistoflex Co, A Div. of Unidynamics Corp., 854 F.2d 762, 766 (5th Cir.

13                                                  14
   DTS Exhibits 11, 12, 14.By the time the of-        Nygren E.008:6-21; Nygren H.005:14-
fers were presented in writing, the ZHRDs had       006:8.
negotiated the “last day” to be April 5, 2019
                                                    15
rather than February 1, 2019. Chris testified:           DTS SUMF ¶ 63.
Schumacher told her “[she] would be getting a
                                                    16
proposal sent to me that they were requiring             Nygren H.018-026.
zone HRs to live in their zone by February the
                                                    17
1st, or they would give me a severance package           Nygren D.003, ¶ 18.
and retire. Nygren G.009:18-23.
                                           Page 6 of 24
       Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 7 of 24




                1988)(for commencement of limitations statutes, “[t]he relevant inquiry is
                not on the subjective state of mind of the plaintiff, but rather, on the suffi-
                ciency of the notice plaintiff received.”).

         c.     Not genuinely disputed.

18.      Mr. Philbin responded to Plaintiff’s email by explaining that the relocation require-
         ment was based on the need for her “to be in the markets, close to the leadership
         you and the team interacts with” and directed Ms. Nygren to talk with Ms. Betty
         Click, the Chief People Officer for DTS, about the process. Plaintiff did not have a
         discussion with Ms. Click at that time.

         a.     Fact statements.

         b.     Material.
         c.     Not genuinely disputed.

19.      At the time she sent this email Plaintiff believed that the relocation requirement was
         age discrimination. When asked whether the July 14, 2018 email to Mr. Philbin
         contained a complaint of age discrimination Ms. Nygren initially testified that it did
         not. She also admitted that she failed to follow Defendant’s EEO and complaint
         procedures for reporting her concerns that age discrimination was occurring.

         a.     Fact statements.
         b.     Immaterial as to the statute of limitations argument DTS makes. The frantic
         email Chris sent to her CEO, months before ever seeing anything in writing, and
         well before she actually discovered (late January 2019)18 her younger ZHRDs
         weren’t in fact going to be required to move as she was, conveys only an immediate,
         short-term subjective belief. At no point do Chris’ subjective beliefs or concerns cure
         the lack of that unequivocal termination notice re-quired for the commencement of
         the statute of limitations, either. Clark v. Resistoflex Co, A Div. of Unidynamics
         Corp., 854 F.2d 762, 766 (5th Cir. 1988)(for commencement of limitations statutes,
         “[t]he relevant inquiry is not on the subjective state of mind of the plaintiff, but
         rather, on the sufficiency of the notice plaintiff received.”).

         c.     Not genuinely disputed.

20.      Later in her deposition Ms. Nygren changed her testimony and claimed that she
         considered the mention of her age (69) in the text of the July 14, 2018 email to be
         an implicit complaint of age discrimination.

         a.     Fact statements.
         b.    Immaterial as to the statute of limitations argument DTS makes. The frantic
         email Chris sent to her CEO, months before ever seeing anything in writing, and

18
     Nygren D.003, ¶ 18.
                                          Page 7 of 24
       Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 8 of 24




         well before she actually discovered (late January 2019)19 her younger ZHRDs
         weren’t in fact going to be required to move as she was, conveys only an immediate,
         short-term subjective belief. At no point do Chris’ subjective beliefs or concerns cure
         the lack of that unequivocal termination notice re-quired for the commencement of
         the statute of limitations, either. Clark v. Resistoflex Co, A Div. of Unidynamics
         Corp., 854 F.2d 762, 766 (5th Cir. 1988)(for commencement of limitations statutes,
         “[t]he relevant inquiry is not on the subjective state of mind of the plaintiff, but
         rather, on the sufficiency of the notice plaintiff received.”).

         c.     Not genuinely disputed.

21.      Ms. Nygren claims that during a subsequent discussion she told Mr. Schumacher
         that she “found it interesting” that she and another Zone HR Director, Jerry Sankey,
         had been told that they had to move or retire, while the third Zone HR Director
         who was required to relocate was told that she was told to move to Chicago or find
         a different job – and was not told that she had to retire or get a severance.

         a.     Fact statements.
         b.      Immaterial as to the statute of limitations argument DTS makes. Chris’ un-
         derstanding of her situation, months before ever seeing anything in writing, and well
         before she actually discovered (late January 2019) 20 her younger ZHRDs weren’t in
         fact going to be required to move as she was, conveys only an immediate, short-term
         subjective belief. At no point do Chris’ subjective beliefs or concerns cure the lack of
         that unequivocal termination notice re-quired for the commencement of the statute
         of limitations, either. Clark v. Resistoflex Co, A Div. of Unidynamics Corp., 854
         F.2d 762, 766 (5th Cir. 1988)(for commencement of limitations statutes, “[t]he rel-
         evant inquiry is not on the subjective state of mind of the plaintiff, but rather, on the
         sufficiency of the notice plaintiff received.”).
         c.     Not genuinely disputed.

22.      Ms. Nygren could not recall details of further conversations with Mr. Schumacher
         regarding the relocation requirement. Later, when asked about whether she com-
         plained to anyone at DTS about her belief that age discrimination has occurred,
         Plaintiff testified “probably not with Steve Schumacher.”

         a.     Fact statements.
         b.     Immaterial as to the statute of limitations argument DTS makes. Chris’ un-
         derstanding of her situation, months before ever seeing anything in writing, and well
         before she actually discovered (late January 2019) 21 her younger ZHRDs weren’t in
         fact going to be required to move as she was, conveys only an immediate, short-term

19                                                   21
     Nygren D.003, ¶ 18.                                  Nygren D.003, ¶ 18.

20
     Nygren D.003, ¶ 18.


                                           Page 8 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 9 of 24




         subjective belief. At no point do Chris’ subjective beliefs or concerns cure the lack of
         that unequivocal termination notice re-quired for the commencement of the statute
         of limitations, either. Clark v. Resistoflex Co, A Div. of Unidynamics Corp., 854
         F.2d 762, 766 (5th Cir. 1988)(for commencement of limitations statutes, “[t]he rel-
         evant inquiry is not on the subjective state of mind of the plaintiff, but rather, on the
         sufficiency of the notice plaintiff received.”).

         c.     Not genuinely disputed.

23.      Ms. Nygren never complained verbally or in writing about perceived age discrimi-
         nation to anyone in DTS Human Resources. According to Plaintiff, “I wouldn’t trust
         the people I had to report it to.”

         a.     Fact statements.
         b.     Material to retaliation.
         c.     Genuinely disputed as follows: The February 13, 2019 demand and age dis-
                crimination complaint was addressed to DTS CHRO Betty Click. 22 Accord-
                ingly, Ms. Click was copied on the DTS response. 23

24.      Ms. Nygren admits the facts reflected in the following chart:
ZONE      ZONE HR DIREC-     PLACE OF              LIVED IN      ZONE VP           ZONE VP CITY OF
          TOR(AGE)           RESIDENCE             ZONE?                           RESIDENCE
1         Mary Ann Fulner    Killingworth CT       Yes           Doug Yost         Virginia Beach VA
          (52)
2         Jerry Sankey       Chesapeake VA         No            Russ Harden       Manteo NC
          (65)
3         Terri Peters       Virginia Beach VA     No            Dawn Martinez     St. Charles IL
          (56)
4         Karen Rhoten       Temecula CA           Yes           Ginger Chase      Las Vegas NV
          (55)
5         Christine Nygren   Metairie LA           No            Brian Prettyman   Dallas TX
          (69)
6         Jeremie Mapes      Dublin OH             Yes           Pete Barnett      Virginia Beach VA
          (45)

         a. Fact statements.

         b. Material.

         c. Not genuinely disputed.




22                                                        23
     Nygren D.004, ¶ 20.                                       DTS Exhibit 16.
                                                 Page 9 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 10 of 24




25.      Plaintiff admits that she and the two other Zone HR Directors who were required
         to relocate (Jerry Sankey and Terri Peters (Nathan)) did not live in their Zones, while
         the other three Zone HR Directors (Mary Ann Fulner, Karen Rhoten and Jeremie
         Mapes) who were not asked to relocate already lived in the Zones they supported.
         a.      Fact statements.

         b.      Material.

         c.      Not genuinely disputed.

26.      Mr. Schumacher did not require Ms. Fulner, Ms. Rhoten or Mr. Mapes to relocate
         because they already lived in the Zones they supported.

         a.      Fact statements.
         b.      Material.

         c.      Genuinely disputed as follows: According to the standard applied to Chris,
                 “living in one’s zone” wasn’t sufficient. The standard became “living in the
                 same city as the Zone VP” and now it is a hodgepodge of post hoc creativity,
                 none of which these three ZHRDs (who admittedly lived in their zones) can
                 satisfy. The question becomes whether there is a legitimate business defense
                 for the requirements DTS imposed on Chris, but not on the younger ZHRDs.
                 Chris was 69 when she was fired on April 5, 2019 “because she did not com-
                 ply with the relocation requirement communicated to her on July 13,
                 2019.” 24 It is undisputed that: Chris was replaced by an individual who has
                 to this day not reached their 40th birthday; 25 the three ZHRDs who were not
                 subjected to (and fired for not complying with) the relocation requirement
                 were aged 45 (Mapes), 52 (Fulner), and 55 (Rhoten); two of the three ZHRDs
                 who weren’t fired lived in relatively insignificant DTS markets (Karen Rhoten
                 in Temecula, CA; Mary Ann Fulner in Killingworth, CT). 26 None of the
                 ZHRDs who weren’t fired (Rhoten, Mapes, Fulner) lived anywhere near their
                 Zone VP (Temecula/Las Vegas, Dublin (OH)/Chesapeake, Killingworth
                 (CT)/Chesapeake). 27 Only one of the ZHRDs who weren’t fired (Mapes; near
                 Columbus, OH) lived close to a serviceable airport. 28


24                                                   28
     R. Doc. 28-1 (Memorandum), p. 14, ¶ 1.             The Court is requested to take judicial notice
                                                     that Temecula, CA (Karen Rhoten) is 43 miles
25
     Nygren I.030:3-5 and Nygren N.                  away from John Wayne Airport in Santa Ana,
                                                     53 miles from San Diego International Airport,
26
     Nygren C.002, ¶ 8.                              and 79 miles from Los Angeles International
                                                     Airport. The Court is requested to take judicial
27
     DTS SUMF ¶ 24; Nygren C.002, ¶ 8.               notice that Killingworth, CT (Mary Ann Fulner)
                                                     is 46 miles from Bradley International Airport
                                                     (Hartford), 99 miles from LaGuardia Airport,
                                           Page 10 of 24
    Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 11 of 24




       Karen Rhoten (55 then) was in July 2017 given permission to move from a highly-

dense DTS market (near Stockton, CA) to Temecula, CA, and is still permitted to live there

today, despite the fact that:

       (a)     Temecula is far from Rhoten’s Zone VP’s residence (Las Vegas);

       (b)     the Zone VP has no office in Temecula;

       (c)     Temecula is a relatively small Dollar Tree market; and

       (d)     Temecula is not convenient to any major airports. 29




105 miles from John F. Kennedy International          U.S. v. Perea-Rey, 680 F.3d 1179, 1182 (9th
Airport, 119 miles from Newark Liberty Inter-         Cir. 2012)(taking judicial notice of a Google
national Airport, and 134 miles from Boston           map); Pahls v. Thomas, 718 F.3d 1210, n.1
Logan International Airport.                          (10th Cir. 2013)(taking judicial notice of a
                                                      Google map as a source whose accuracy cannot
Richards v. Stone, CV 19-0966, 2019 WL                reasonably be questioned); U.S. v. Piggie, 622
6997917, at *4 (W.D. La. Nov. 4, 2019), re-           F.2d 486, 488 (10th Cir. 1980)(“Geography
port and recommendation adopted, 2019 WL              has long been peculiarly susceptible to judicial
6974776 (W.D. La. Dec. 18, 2019). See also            notice for the obvious reason that geographic
Fed. R. Evid. 201(b)(2)(courts “may judicially        locations are facts which are not generally con-
notice a fact that is not subject to reasonable       troversial....”); U.S. v. Burroughs, 810 F.3d
dispute because it: ... can be accurately and         833, 835 n.1 (D.C. Cir. 2016) (taking judicial
readily determined from sources whose accu-           notice of a Google map); Feminist Majority
racy cannot reasonably be questioned”); Fed.          Found. v. Hurley, 911 F.3d 674, 711 (4th Cir.
R. Evid. 201(f) (judicial notice may be taken at      2018); Livingston Christian Schs. v. Genoa
any stage of the proceeding); Deutch v. U.S.,         Charter Twshp., 858 F.3d 996, 1008 (6th Cir.
367 U.S. 456, 470 (1961) (taking judicial no-         2017)(same); see also David J. Dansky, The
tice of the distance between two cities); Boyce       Google Knows Many Things: Judicial Notice in
Motor Lines v. U.S., 342 U.S. 337, 344                the Internet Era, 39 Colo. Law. 19, 24 (2010)
(1952) (“We may, of course, take judicial no-         (“Most courts are willing to take judicial notice
tice of geography.”); Munson S.S. Lines v.            of geographical facts and distances from pri-
Newman, 24 F.2d 416, 417 (5th Cir. 1928)              vate commercial websites such as MapQuest,
(taking judicial notice of the distance between       Google Maps, and Google Earth.”).
cities); Hanes Supply Co. v. Valley Evaporating
                                                      29
Co., 261 F.2d 29, 35 (5th Cir. 1958) (taking               Nygren C.003, ¶ 17.
judicial notice of the distance between cities);
                                            Page 11 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 12 of 24




27.      Ms. Nygren admits that she did not participate in any decisions related to the relo-
         cation requirement and does not know the reasoning for its implementation. When
         asked whether she knows if the management responsible for making the relocation
         requirement decided that the three Zone HR Directors who already lived in their
         Zones would not be required to relocate for that reason, Plaintiff responded “I have
         no idea, I never talked to anybody.”

         a.      Fact statements.

         b.      Material.

         c.      Not genuinely disputed

28.      On July 13, 2018 Mr. Schumacher informed Mr. Sankey that he would be required
         to relocate to either Atlanta, Georgia or Orlando, Florida, to which Mr. Sankey
         responded that he would not agree to the relocation requirement. Ms. Nygren does
         not dispute that Mr. Sankey was told he would be required to relocate to Atlanta to
         maintain his position as Zone HR Director for Zone 2, nor does she dispute that
         Ms. Peters was told that she would be required to relocate to Chicago, Illinois, in
         order to remain the Zone HR Director for Zone 3.

         a.      Fact statements.

         b.      Material.

         c.       Genuinely disputed as follows: Schumacher told the three affected ZHRDs
                  (Chris, Jerry Sankey, and Terrie Peters Nathan) they’d need to relocate on
              July 13, 2018. 30 Both Chris 31 and Jerry Sankey 32 testified that Schumacher did
              not initially tell them they’d need to relocated to a specific city within their Zones:
              only that they’d be required to move into their Zones.

29.      Ms. Nygren asked Mr. Schumacher if she could be re-assigned to Zone 2 because
         she was aware that Mr. Sankey had decided to retire. Mr. Schumacher told her she
         could if she would move to either Atlanta or Orlando.

         a. Fact statements.

         b. Material.

         c. Genuinely disputed as follows: Chris lives in Zone 2. 33 She used to be the ZHRD
            for Zone 2 before DTS realigned Zones (as is characteristic of the company with



30                                                     32
     DTS SUMF ¶ 12.                                         Nygren E.007:4-15.

31                                                     33
  Nygren G.010:5-17; DTS SUMF ¶ 13; Ny-                     DTS Exhibit 2-2.
gren D.002, ¶¶ 6, 10.


                                            Page 12 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 13 of 24




              these three oldest ZHRDs) and assigned her to Zone 5. 34 She asked to be re-
              assigned to Zone 2 because that Zone’s VP lives outside the Zone 35 and offices
              at the Store Support Center, because there is a substantial DTS market in New
              Orleans, 36 and because New Orleans air travel is uniformly cheaper than Atlanta
              and comparable to Orlando, 37 all factors DTS has post hoc offered as determi-
              native (the reason DTS gave prior to being sued was, “ZHRDS must live in the
              same city as Zone VP”). 38 Chris was not hired for that position and someone
              who lives in Atlanta, and who is significantly younger than Chris, was hired. 39

30.      In an email exchange dated July 18, 2018 Ms. Nygren asked Mr. Schumacher to
         send her the DTS employee relocation package, indicating that she would consider
         moving to Houston, Texas.
         A. Fact statements.

         B. Material.

         C. Not genuinely disputed.

31.      Plaintiff acknowledges that the acceptance of the relocation benefits would require
         her to continue employment with DTS for a period of two-years, and that by provid-
         ing the relocation package Mr. Schumacher was offering her an incentive to secure
         her continued employment for a period of at least two additional years if she ac-
         cepted the offer of relocation benefits.
         a.      Fact statements.

         b.      Material.

         b.      Not genuinely disputed

34
   Nygren D.006, ¶ 32; Nygren C.002, ¶ 9;             v. Flawless Records, Inc., 2005 WL 6225822
Nygren E.005:13-006:4 and E.012:14-                   (E.D. La. June 13, 2005)(Africk, J., taking ju-
013:3; Nygren H.013:20-014:23.                        dicial notice of U.S. government database);
35
   DTS SUMF ¶ 24 and DTS Exhibit 2-2.                 Ramsay v. Frontier, Inc., 2020 WL 4557545,
                                                      at *4 (D. Colo. July 30, 2020), report and
36
     Nygren D.005-006, ¶ 32.                          recommendation adopted, 2021 WL 651021
                                                      (D. Colo. Feb. 19, 2021)(taking judicial no-
37
   The Court is requested to take judicial no-        tice of domestic flight statistics found on
tice, by reference to the U.S. Department of          USDOT's Bureau of Transportation Statistics
Transportation’s Bureau of Transportation             database).
Statistics database at
                                                      38
https://www.transtats.bts.gov/AIRFARES/                 DTS SUMF ¶ 33; Nygren G.020:11-
which reveals that during Q3 2018, the aver-          022:23.
age domestic airfare originating in Atlanta,
                                                      39
New Orleans, and Orlando, was $357.92,                     DTS SUMF ¶ 49; Nygren N.
$293.01, and $245.20. See generally Burkitt
                                            Page 13 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 14 of 24




32.      Ms. Nygren cannot recall when she had her next discussion with Mr. Schumacher
         regarding the relocation requirement. But, based on text messages that Ms. Nygren
         exchanged with Brian Prettyman on August, 7, 2018, Plaintiff agrees that the dis-
         cussion with Mr. Schumacher about the specific requirement to move to Dallas oc-
         curred prior to that date.

         a.     Fact statements.

         b.     Material.

         c.     Not genuinely disputed

33.      Mr. Schumacher told Ms. Nygren that she would be required to move to Dallas
         because that is where the Zone VP of Operations for Zone 5 was located.

         a.     Fact statements.

         b.     Material.

         c.     Genuinely disputed only as to when Schumacher told Chris this.

34.      During text message exchanges with Jerry Sankey on July 17, 2018, just four days
         after her meeting with Mr. Schumacher, Ms. Nygren discussed filing a class action
         lawsuit against the Company.

         a.     Fact statements.
         b.      Immaterial as to the statute of limitations argument DTS makes. Chris’ un-
         derstanding, months before ever seeing anything in writing, and well before she ac-
         tually discovered (late January 2019) 40 her younger ZHRDs weren’t in fact going to
         be required to move as she was, conveys only an immediate, short-term subjective
         belief. At no point do Chris’ subjective beliefs or concerns cure the lack of that une-
         quivocal termination notice re-quired for the commencement of the statute of limi-
         tations, either. Clark v. Resistoflex Co, A Div. of Unidynamics Corp., 854 F.2d 762,
         766 (5th Cir. 1988)(for commencement of limitations statutes, “[t]he relevant in-
         quiry is not on the subjective state of mind of the plaintiff, but rather, on the suffi-
         ciency of the notice plaintiff received.”).

         c.     Not genuinely disputed.




40
     Nygren D.003, ¶ 18.
                                          Page 14 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 15 of 24




35.      Ms. Nygren revisited the issue of suing DTS in another string of text messages with
         Mr. Sankey dated September 21, 2018, and told him that she had heard back from
         one attorney and that “She is not talking about two or three times severance, she is
         talking about two or three years of pay and benefits.”

         a.     Fact statements.
         b.      Immaterial as to the statute of limitations argument DTS makes. Chris’ texts
         with Sankey, sent well before she actually discovered (late January 2019) 41 her
         younger ZHRDs weren’t in fact going to be required to move as she was, conveys
         only an immediate, short-term subjective belief. At no point do Chris’ subjective
         beliefs or concerns cure the lack of that unequivocal termination notice required for
         the commencement of the statute of limitations, either. Clark v. Resistoflex Co, A
         Div. of Unidynamics Corp., 854 F.2d 762, 766 (5th Cir. 1988)(for commencement
         of limitations statutes, “[t]he relevant inquiry is not on the subjective state of mind
         of the plaintiff, but rather, on the sufficiency of the notice plaintiff received.”).
         c.      Genuinely disputed as follows: Nygren’s deposition testimony is clear on this
         topic, that she had not spoken with a lawyer about this case as of that text, and that
         the text described information her daughter Kristen relayed from an attorney friend
         describing the types of remedies available in discrimination cases. 42

36.      When asked if she ever gave Mr. Schumacher a clear response about whether she
         would agree to relocate to Dallas, Texas, Plaintiff testified “I don’t think so.” When
         Ms. Nygren brought up the possibility of moving to Houston instead, Mr. Schu-
         macher told her “no.”

         a.     Fact statements.

         b.     Material.

         c.     Genuinely disputed as follows: Chris testified that Schumacher was repeat-
                edly equivocal about Houston – often indicating “I’m thinking Dallas” sup-
                posedly because that’s where Chris’ Zone VP lived. 43 Schumacher was also
                vague and unclear at best when it came to whether there were any repercus-
                sions for not moving and not taking the severance deals DTS was offering. 44.
                At her deposition, Chris testified immediately after the quoted “no” passage,




41
     Nygren D.003, ¶ 18.                            Dallas; he lives near Seattle, Washington with
                                                    his family. Nygren D.002, ¶ 11 and Exhibit D-
42
  Nygren G.035:6-036:5; Nygren D.003-               1 thereto. See also DTS SUMF ¶ 13.
004, ¶¶ 19-20. .
                                                    44
                                                      Nygren D.002, ¶ 6; 003, ¶¶ 13-15, 004,
43
  Nygren D.002, ¶ 10. The Zone VP, Brian            ¶ 26.
Prettyman, has an office and an apartment in
                                          Page 15 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 16 of 24




                 that when she asked Schumacher “when do you have to have an answer” he
                 responded saying, “whenever you decide.” 45

37.       Mr. Schumacher presented Ms. Nygren with a series of severance packages. In the
          letters that Mr. Schumacher sent to Ms. Nygren he used the term “retire” to confirm
          that Ms. Nygren’s future separation from DTS employment would be considered a
          voluntary separation and was not termination for “cause,” for purposes of her re-
          stricted stock option grants for 2016, 2017 and 2018. Ms. Nygren’s restricted stock
          grants were subject to a three-year vesting period and would not have been fully
          vested as of the future April 5, 2019 Separation Date, but if the separation was a
          retirement, Ms. Nygren’s grants would immediately vest because she was more than
          59 1/2 years old and had 7 years of service with DTS.

          A.     Fact statement.

          B.     Material.

          C.     Genuinely disputed as follows: if this statement was something other than a
                 lawyer’s post hoc rationalization 2+ years after the fact, it would have been
                 relayed to Chris at any point from when she asked Schumacher, Philbin, or
                 even Kay Stockwell (DTS counsel) 46 for an explanation as to why she was
                 being told to “retire.” It was not.

38.       Mr. Schumacher did not use the same language with respect to Ms. Peters’ separa-
          tion because she was not 59 1/2 years old and was not eligible for immediate vesting
          of her stock grants.

          A.     Fact statement.

          B.    Immaterial inasmuch as Peters testified she did not have a talk about sever-
          ance until far later, and her documents and their terms weren’t something Chris
          would have been privy to.

          C.     Genuinely disputed as follows: if this statement was something other than a
          lawyer’s post hoc rationalization 2+ years after the fact, it would have been relayed
          to Chris at any point from when she asked Schumacher, Philbin, or even Kay Stock-
          well (DTS counsel) 47 for an explanation as to why she was being told to “retire.” It
          was not.

39.       The first severance proposal was dated September 7, 2018, and indicated that DTS
          had decided that all Zone HR Directors should reside in the geographic area they
          support, that Ms. Nygren had decided not to relocate to her zone and instead asked
          to continue her employment until she retired in April of 2019. The letter indicated


45
     DTS Exhibit 1, p. 261:16-24.
                                                    47
                                                         DTS Exhibit 13.
46
     DTS Exhibit 13.
                                          Page 16 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 17 of 24




        that Ms. Nygren would continue in her role as a Zone HR Director, reporting to
        Steve Schumacher, “until April 5, 2019 (‘Separation Date’).”
        a.     Fact statements.

        b.      Immaterial inasmuch as these were voluntary separation agreements and
        don’t make up for Schumacher’s lack of guidance to Chris as to what would happen
        if she didn’t take the deal, and didn’t move by a date certain.

        c.     Not genuinely disputed.

40.     Mr. Schumacher emailed a second severance proposal to Ms. Nygren on October 5,
        2019 which added certain COBRA health insurance premium payments to the sev-
        erance benefits provided, but is otherwise the same as the prior severance proposal,
        including the stated “Separation Date” of April 5, 2019.
        A.     Fact statements.

        b.      Immaterial inasmuch as these were voluntary separation agreements and
        don’t make up for Schumacher’s lack of guidance to Chris as to what would happen
        if she didn’t take the deal, and didn’t move by a date certain.

        c.     Not genuinely disputed.

41.     On October 9, 2018 Ms. Nygren sent an email to DTS in-house attorney Kay Stock-
        well, who she understood was responsible for drafting the DTS severance agree-
        ments, in which she stated “I then was told I had to move to Dallas, city specific. I
        do not want to retire. I’m being told move to Dallas or retire.”
        a.     Fact statements.

        b.     Immaterial inasmuch as these were voluntary separation agreements and
               don’t make up for Schumacher’s lack of guidance to Chris as to what would
               happen if she didn’t take the deal, and didn’t move by a date certain.

        c.     Not genuinely disputed.

42.     Ms. Nygren received a third severance proposal from Mr. Schumacher on November
        1, 2019. This version stated “As we have discussed, Dollar Tree decided that all
        Zone Human Resources Directors should reside in the geographic area that they
        support, specifically Dallas for Zone 5. You have decided not to relocate to Dallas
        and instead have asked to continue your employment until you retire in April 2019.”
        The letter restated the same “Separation Date” of April 5, 2019.

        A.     Fact statements.

        b.      Immaterial inasmuch as these were voluntary separation agreements and
        don’t make up for Schumacher’s lack of guidance to Chris as to what would happen
        if she didn’t take the deal, and didn’t move by a date certain.

                                         Page 17 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 18 of 24




         c.     Not genuinely disputed. Ms. Nygren’s last date of employment with DTS was
         April 5, 2019. She never told Mr. Schumacher or anyone else with the Company
         that she would move to Dallas, Texas prior to that date.

43.      Ms. Nygren’s last date of employment with DTS was April 5, 2019. She never told
         Mr. Schumacher or anyone else at the company that she would move to Dallas,
         Texas prior to that date.
         a. Factual statement.

         b. Material.

         c. Not genuinely disputed.

44.      Ms. Nygren admits that by the end of 2018 she may have told Mr. Schumacher “I’m
         not going to relocate to Dallas, …but I would entertain Houston. By the end of
         December 2018 she had told Mr. Schumacher that she would not relocate to Dallas.
         a. Factual statement.

         b. Material.

         c. Genuinely disputed where But Chris never told Schumacher (or anyone at DTS)
            she wouldn’t move to Dallas. 48

45.      Ms. Nygren understood that if she did not agree to relocate to Dallas her DTS em-
         ployment would end on April 5, 2019.

         a.     Fact statement.

         b.     Material.

         c.     Genuinely disputed as follows: Schumacher never gave Chris a deadline to
                move, he always told Chris she could take as long as she wanted to decide, 49
                and the only “deadlines” that ever appeared involved the voluntary separa-
                tion terms Schumacher offered the three ZHRDs if they didn’t want to move
                into their Zone. 50 Sankey and Peters, who both immediately refused to move
                (neither was willing to move into their Zone, anywhere)and never reconsid-
                ered, 51 voluntarily agreed to severance and a last working day of April 5,


48
     Nygren G.019:18-23; Nygren D.002, ¶ 6.         Schumacher told her “[she] would be getting a
                                                    proposal sent to me that they were requiring
49
     Nygren G.018:18-24.                            zone HRs to live in their zone by February the
                                                    1st, or they would give me a severance package
50
   DTS Exhibits 11, 12, 14.By the time the of-      and retire. Nygren G.009:18-23.
fers were presented in writing, the ZHRDs had
                                                    51
negotiated the “last day” to be April 5, 2019         Nygren E.008:6-21; Nygren H.005:14-
rather than February 1, 2019. Chris testified:      006:8.
                                          Page 18 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 19 of 24




                2019. 52 Chris understood what those letters from Dollar Tree were – offers
                to voluntarily separate. They didn’t memorialize anything and they didn’t im-
                pose a deadline for her to relocate – they merely set a last day of work if she
                agreed to leave and take a severance. 53 And Chris never told Schumacher (or
                anyone at DTS) she wouldn’t move. 54

46.      On January 14, 2019 Ms. Nygren sent an email to Mr. Schumacher which stated:
         “Steve, since I noticed zone HR director job was posted last week, I announced on
         our zone call this a.m. of my retirement so they can hear from me on this.”

         a.     Fact statements.
         b.     Material.

         c.    Genuinely disputed as follows: Chris testified exactly why she made the an-
         nouncement, and it wasn’t because she was actually retiring. 55

47.      Ms. Nygren told the individuals on the group call that “I was supposed to move to
         Dallas to keep my job. And I wasn’t moving to Dallas.” Ms. Nygren initially denied
         telling the DTS Zone personnel on the call that she was retiring, but when pressed
         about whether she used the term retirement in the group conference call, she testified
         “I may have.”
         a.     Fact statements.

         b.     Material.

         c.     Not genuinely disputed.

48.      The posting of Ms. Nygren’s position indicated that the job was going to be in Dal-
         las, Texas.

         a.     Fact statements.
         b.     Immaterial.

         c.     Not genuinely disputed.

49.      Plaintiff was replaced by Ms. Jackie Richardson, who was hired to fill the Zone HR
         Director position for Zone 5 and who at all times since her hire by DTS has lived in
         the Dallas metropolitan area. Mr. Sankey was replaced in Zone 2 by Ms. Tanya



52
     DTS SUMF ¶ 63.
                                                    55
                                                      DTS Exhibit 1, p. 294:11-295:18; Nygren
53
     Nygren G.019:8-23.                             D.005, ¶ 31.

54
     Nygren G.019:18-23; Nygren D.002, ¶ 6.
                                          Page 19 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 20 of 24




        Rowe-Hill, who at all times has lived in Atlanta, Georgia, while Ms. Peters was re-
        placed in Zone 3 by Bernadette Noland, who at all times has lived in the Chicago
        metropolitan area.

        a.    Fact statements.
        b.    Material.

        c.    Not genuinely disputed.

50.     On February 13, 2019, Plaintiff’s counsel wrote a letter to Defendant asserting
        claims of age discrimination on behalf of Ms. Nygren and presenting settlement de-
        mands.

        a.    Fact statements.
        b.    Material.

        c.    Not genuinely disputed

51.     By letter dated March 6, 2019, Ms. Beth Berman, Defendant’s Deputy General
        Counsel, responded that no age discrimination had occurred, but indicated that in
        light of Ms. Nygren’s stated personal reasons for wanting to relocate to Houston,
        Defendant would agree to that move, but reserved the right to change Ms. Nygren’s
        Zone and/or required home base in the future if it determined that Dallas would be
        more appropriate.

        A.    Fact statements.

        b.    Material.

        c.    Not genuinely disputed

52.     Ms. Nygren received a copy of Ms. Berman’s letter from her attorney.

        a.    Fact statements.
        b.    Material.

        c.    Not genuinely disputed.

53.     Mr. Schumacher contacted Ms. Nygren sometime between March 6 and March 15,
        2019 and told her that DTS would be happy to have her in Houston. Plaintiff re-
        sponded by telling Mr. Schumacher “you gave me a date of April 5th I had to be
        out. But we’ve had this conversation since July 13th and you’ve said no, no, no. As
        soon as I get an attorney, things change. I can’t talk to you anymore. You call my
        attorney, I’m not having any more conversation with you.” Ms. Nygren testified that
        she was aggravated and wasn’t going to deal with Mr. Schumacher anymore.
        a.    Fact statements.

                                        Page 20 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 21 of 24




         b.     Material.

         c.     Genuinely disputed as follows: Chris’ objection was to the highly-conditional
         “Houston offer.” There was no discussion of relocation package in anyone’s testi-
         mony and the “reservation of rights” is something Chris wanted resolved before she
         could agree to move. 56 Chris continued to deal with Schumacher in a professional
         manner until her last day of work, so much so that he thanked her profusely for her
         help in getting him up to speed on his job. 57

54.      There is no evidence that Mr. Schumacher or anyone else involved in the relocation
         requirement decision made age-based comments in the context of that decision.

         a.     Fact statements.

         b.     Material.

         c.     Not genuinely disputed.

55.      When asked to explain the factual basis for her claims of age-based harassment, Ms.
         Nygren testified that she attended two retirement dinners - one in January 2019 and
         another that was held in March 2019. Plaintiff admits that there was no age-based
         harassment or mistreatment of any kind at either of these dinner events.
         a.     Fact statements.

         b.     Material.

         c.     Genuinely disputed as follows: despite Chris’ constant requests as to why she
         was bring prompted to retire, even after she repeatedly asked DTS (including its
         attorney), 58 and got no answer. The only logical inference to be drawn is that Chris
         was being treated this way because of her age. People are fired for not doing their
         job. People have “retirement” foisted on them in at-will situations when age is a
         potential trigger-point. This is particularly true if DTS all along understood that the
         “retirement” mentions were merely pay-helpful ways to make sure Chris got all her
         stock grants as she “voluntarily” wound her career down; it’s more true in this case,
         where those are post hoc justifications devised by attorneys with zero support from
         the summary judgment record.

56.      The only retaliation Ms. Nygren has identified is the allegation that when she offered
         to move to Houston, Mr. Schumacher changed the relocation requirement to Dallas,
         Texas.

         a.     Not a statement of fact; a legal conclusion.



56
     Nygren D.004, ¶¶ 22-25.
                                                    58
                                                         DTS Exhibit 13.
57
     Nygren G.027:5-028:15; Nygren M.
                                          Page 21 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 22 of 24




        b.    Material.

        c.    Genuinely disputed as follows: Although Chris wrongly believed she was be-
              ing discriminated against when Schumacher told her she’d have to move into
              her Zone in early July (in reality she wouldn’t find out until late January 2019
              the real basis for any discrimination: that the younger ZHRDs were not being
              asked to move and comply with the same requirements she was), when she
              complained to management, the relocation requirement was intensified.
              Later, when her attorney wrote a demand letter to DTS’ HR head (Betty
              Click) and complained of discrimination (which was substantive and based
              on what she’d learned late January 2019), she was fired less than 2 months
              later, which ought to create a presumption of retaliation. Quite possibly the
              “Houston with reservation of rights” offer, because it was a discriminatory
              reiteration with new terms and because it came in response to Chris’ com-
              plaint to DTS HR, could suffice as a third instance of retaliation. Addition-
              ally, Chris was fired shortly after complaining that the “Houston with reser-
              vation of rights” offer was discriminatory, which suggests a fourth possible
              instance of retaliation.

57.     But when asked to explain how changing the relocation request to specify Dallas,
        Texas was retaliatory, Ms. Nygren admitted, “I don’t know what retaliation. I don’t
        know what’s in their mind.

        a.    Fact statements.

        b.     Immaterial inasmuch as Nygren was testifying as to the facts, has no legal
        training, and was being quizzed by a lawyer on the various elements of retaliation.

        c.    Not genuinely disputed.

58.     Ms. Nygren received her final performance evaluation from Mr. Schumacher on
        March 25, 2019. She received a “meets expectation rating” and received her annual
        bonus, stock grants and a merit pay increase. She considered this to be a good eval-
        uation and did not consider this to be age discrimination or retaliation.

        a.    Fact statements.

        b.    Material.

        c.    Not genuinely disputed

59.     Ms. Nygren’s separation from employment with DTS was coded as “TN-4,” which
        stands for retirement. Because Ms. Nygren’s separation was classified as a retire-
        ment, and not as a termination for Cause, her restricted stock options for 2016,
        2017 and 2018 fully and immediately vested, which provided substantial financial
        benefits to Plaintiff.

        a.    Fact statements.


                                        Page 22 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 23 of 24




        b.      Immaterial to either the timeliness argument or the merits argument.

        c.      Not genuinely disputed

60.     Ms. Nygren’s last day of employment with Defendant was April 5, 2019. Plaintiff’s
        employment terminated on that date because she did not comply with the relocation
        requirement communicated to her on July 13, 2019. She refused to relocate to either
        Dallas, as originally requested, or Houston, as was offered to her in March, 2019.

        a. Fact statement.

        b. Material.

        c. Genuinely disputed as follows. Chris never refused to move to Dallas. 59 And she
           never refused to move to Houston, but her objection was to the highly-condi-
           tional “Houston offer.” There was no discussion of relocation package in any-
           one’s testimony and the “reservation of rights” is something Chris wanted re-
           solved before she could agree to move. 60

61.     Ms. Nygren did not file her charge of employment discrimination with the EEOC
        until October 22, 2019.

        a. Fact statement.

        b. Material.

        c. Not genuinely disputed.

62.     Plaintiff filed her Complaint in this case on October 4, 2020.

        a. Fact statement.

        b. Material.

        c. Not genuinely disputed.


59
   Nygren G.017:7-018:24; Nygren D.002, ¶               A. That's correct.
6 and 004, ¶ 26. By way of example, Chris tes-          Q. All right. So you -- you still consider this to
tified that even after the last of DTS’ three sev-      be your job at the time?
erance letters (10/16/18) was written, she was          A. That's correct.
still deciding what to do. She testified to this:       Q. And you were still considering the possibil-
Q. You say "Terrie Peters wanted me to put in           ity of moving to Dallas; is that your testimony?
a good word for her, as she wants to move to            A. That's correct, I hadn't made up my mind.
Dallas for my job."                                     Nygren G.037:3-18.
A. October 17th.
                                                        60
Q. Yeah, October 17, 2018. "She wants to                     Nygren D.004, ¶¶ 22-25.
move to Dallas for my job." And he responds
"no way," right?
                                              Page 23 of 24
      Case 2:20-cv-02714-LMA-DMD Document 38-1 Filed 05/05/21 Page 24 of 24




63.     Jerry Sankey (Zone 2) and Terri Peters (Zone 3) also separated from DTS employ-
        ment on April 5, 2019. Both accepted the severance proposal that was presented to
        them by DTS.

        a. Fact statement.

        b. Immaterial.

        c. Not genuinely disputed.

64.     Neither Mr. Sankey nor Ms. Peters have any personal knowledge regarding the facts
        and circumstances of Ms. Nygren’s situation relative to the relocation requirement.
        a. Mostly legal statement.

        b. Immaterial: if it is true that the business requirement was as Schumacher and
           DTS suggest, then deviations between Schumacher’s timing, approach, and de-
           livery of his unwritten announcement of the policy between the three ZHRDs
           who were affected is relevant, regardless of whether they have personal
           knowledge of Chris’ situation.

        c. Not genuinely disputed.

65.     Mr. Sankey and Ms. Peters do not have any factual evidence that the application of
        the relocation to them was based on their age or that either of them experienced age
        discrimination during their DTS employment.
        a. Mostly legal statement.

        b. Immaterial, as these witnesses’ value to Chris has nothing to do with the appli-
           cation of the relocation policy to either of them.

        c. Not genuinely disputed.

                                          Respectfully submitted,

                                             /s/ Andrew T. Lilly
                                          Andrew T. Lilly (La. 32559)
                                          4907 Magazine Street
                                          New Orleans, Louisiana 70115
                                          t: (504) 812-6388
                                          f: (504) 539-4180
                                          e: andrew@atlpllc.com

                                          Attorney for plaintiff, Christine A. Nygren




                                        Page 24 of 24
